Case 2:23-cv-00277-TOR ECF No. 2

filed 09/25/23. PagelD.9 Page 1 of 19

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

FRERICHS, JARED,

Plaintiff,
V.

SPOKANE CITY POLICE
DEPARTMENT,

Defendant.

No.

SPOKANE COUNTY
SUPERIOR COURT CASE NO.
23-2-03858-32

VERIFICATION OF COUNSEL

|, Lynden Smithson, state and verify as follows:

1. | am the City Attorney for the City of Spokane. |, along with

Assistant City Attorney Nathaniel Odle, represent Defendant Spokane

Police Department. | have personal knowledge of the facts set forth in this

verification and am otherwise competent to testify to the matters set forth

herein.

VERIFICATION OF COUNSEL - 1

Lynden P. Smithson, City Attorney
OFFICE OF THE CITY ATTORNEY
808 W. Spokane Falls Blvd.
Spokane, WA 99201-3326
(509) 625-6225
FAX (509) 625-6277

Case 2:23-cv-00277-TOR ECFNo.2_ filed 09/25/23. PagelD.10 Page 2 of 19

2. | verify that | reviewed the docket for Spokane County Superior
Court for case no. 23-2-03858-32 and the following exhibits attached as
Exhibits A — E. Attached hereto are true and correct copies of all the records
and proceedings that are on file with the Clerk of the Spokane County
Superior Court in this matter as of September 25, 2023.

A. Case Information Cover Sheet, filed September 18, 2023;

B. | Summons and Complaint, filed September 18, 2023;

C. “Memorandum of Authorities for the Fourth Amendment’, filed
September 18, 2023;

D. “Memorandum of Authorities for the Second Amendment’, filed
September 18, 2023; and

E. Note for Hearing Issue of Law, filed September 18, 2023.

| declare under penalty of perjury that the foregoing is true and correct.

DATED this LE day of September, 2023.

Lt yi—

Lynden Smjthsgn, WSBA #28865
Nathaniel Odle, WSBA #39602
Attorneys for Defendant

VERIFICATION OF COUNSEL _ 2 Lynden P. Smithson, City Attorney

OFFICE OF THE CITY ATTORNEY
808 W. Spokane Falls Blvd.
Spokane, WA 99201-3326
(509) 625-6225
FAX (509) 625-6277

Case 2:23-cv-00277-TOR ECFNo.2_ filed 09/25/23. PagelD.11 Page 3 of 19

CERTIFICATE OF SERVICE
| hereby certify that on the 25ttay of September, 2023, |
electronically filed the foregoing “VERIFICATION OF COUNSEL’ with the
Clerk of the Court using the CM/ECF System which will send notification
of such filing to the following:
No Electronic Recipients
| hereby further certify that | have caused to be served a true and

correct copy of the foregoing documents(s) on the non-CM/ECF
participants as indicated:

Jared A. Frerichs [ J VIA FACSIMILE

2924 E. Baldwin Avenue [X] VIA U.S. MAIL

Spokane, WA 99207 [ ] VIA OVERNIGHT SERVICE
Plaintiff [ ] VIA HAND DELIVERY

[_] VIAEMAIL

Ashley Héjle
Attorney Assistant

City Attorney’s Office

808 W. Spokane Falls Blvd.
Spokane, WA 99201-3326

VERIFICATION OF COUNSEL _ 3 Lynden P. Smithson, City Attorney

OFFICE OF THE CITY ATTORNEY
808 W. Spokane Falls Blvd.
Spokane, WA 99201-3326
(509) 625-6225
FAX (509) 625-6277

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EXHIBIT A
Case 2723-CV-

00277-TOR ECF No. 2 _fited 09/25/23 PagelD.13- Page 5 of t9

SPOKANE COUNTY CLERK INDEXING SHEET

x that best describes this case. This classification in no way "3 the legal action of 038 8 3 2
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SEP 18 2023

Timothy W. Fitzgerald
SPOKANE COUNTY CLERK

CIVIL
Tort
(_] * Medical Malpractice (MED)
(_] * Personal Injury (PIN)

(] * Property Damage (PRP)

[_] * Wrongful Death (WDE}

oO * Other Malpractice (MAL)
(] * Tort Motor Vehicle (TMV)
[_] * Tort - Other (TTo)

(-] Victim of Motor Vehicle Theft (VT)
Contract/Commercial

(j Collection (COL)

(J Commercial Non-Contraet (COL)
(] * Commercial/Contract (COM)

Property Rights

f * Condemnation (CON)

(_] * Foredosure (FOR)

(] * Quiet Title (QT!)

[-] * Land Use Petition (LUP}

(_] Untawful Detainer (UND)

(] Property Faimess Act (PFA)

otection Order

[| Canadian DV Protection Order (CNV)

[_] Civil Harassment (CPO)

(_] Comestic Violence Protection (CPO)

Extreme Risk Protection Order (XRP)

Extreme Risk Protection Order Under 14 (XRU)
Foreign Protection Order (FPO)

(_] Sexual Assault Protection (CPO)

["] stalking Protection (CPO)

[_] Vulnerable Adult Protectian (CPO)

Other Complaint/ Petition

(_] Abusive Litigation (ABL)

(_] Consumer Protection Act (CPA)

(_] Employment (EMP)

(_] * injunction (INU)

(_] Malicious Harassment (MHA)

["] Petition for Civil Comm (Sexual Predator) (PCC)
(] Seizure of Prop from Commission of a Crime (SPC)
(-] Seizure of Prap from a Crime (SPR)

(_] Property Damage — Gangs (PRG)

(_] Public Records Act (PRA)

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(] school District - Required Action Pian (SDR)

Miscellaneous (MSC)
mancipation of Minor (EOM)

_] * Minor Settlement (MST)
(CJ * Structured Settlement (RSC)
(_] Retief from Duty to Register (RDR)
_] Restoration of Firearm Rights (RFR)
Writs
_) Writ of Habeas Corpus (WHC)
CJ Miscellaneous Writs (WMV)
Appeal/Review
(C2 * Administrative Law Review (ALR)
(J ® Lower Court Appeal — Civil (LCA)
() * Lower Court Appeal — Traffic (LCI}
(J * Dept. of Licensing Revocation (DOL)
Judgment
(_) Tax Warrants (TAX)
(_] Abstract of Judgment (AB!)
(CF Transcript of Judgment (TRU)
(Co Foreign Judgment (FU)

ATTENTION:

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** Annulment — Invaildity (INV)

** Dissolution with Children (DIC)

** Dissolution — No Children (DIN)

** Dissolution Dom Partnership with Children (DPC)
** Dissolution Dom Partnership — No Children (DPN)
** Invalidity — Domestic Partnership (INP)

** Legal Separation (SEP)

** Legal Separation — Domestic Partnership (SPD)
** Parenting Plan/Child Support (PPS)

Committed Intimate Relationship w/Children (CIR)
Committed Intimate Relationship -No Children (CIR)
* DeFacto Parentage (DFP)

Modification (MOD)

Modification: Support Only (MDS)

Out of State Custody (OSC)

Foreign Judgment (FJU)

Mandatory Wage Assignment (MWA)

Misceilaneous (MSC)

*** Relative Visitation (RCV)

Reciprocal, Respondent-in-County (RIC)

Reciprocal, Respondent-Out-of-County (ROC)

PATERNITY/ADOPTION

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Paternity

Paternity (PAT)
Paternity/URESA/UIFSA (PUR)

Adoption

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Adoption (ADP)

Confidential Intermediary (MSC)
Relinquishment (REL)

Initial Pre-Placement Report (PPR)

Name Change

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Confidential Name Change (CHN)

PROBATE/GUARDIANSHIP

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Absentee (ABS)

Disclaimer (DSC)

Estate (EST)

Foreign Wiil (FNW)

Will Only (WLL)

Miscellaneous (MSC)

Trust (TRS)

Trust/Estate Dispute Resolution (TDR)
Sealed Will Repository (SWR)

Small Estate Affidavit (SEA)

Guardianship (GDN)

Guardianship of the Person (GDN}

* Minar Guardianship Custody (MGC)
Non-Probate Notice to Creditors (NNC)
“Emergency Minor Guardianship (EMG) -
*EmergencyMinorGuardianship/Conservatorship(EGc)
Minor Conservatorship (MCE)

Standby Minor Guardianship (SMG)
Limited Guardianship (LGD)

Umited Guardianship of the Person (LGP)
Limited Guardianship of the Estate (LGE)
* Minor Settlement (MST)

@ CASES MARKED WITH AN * RECEIVE A CASE ASSIGNMENT NOTICE
« CASES MARKED WITH ** RECEIVE A CASE ASSIGNMENT NOTICE AND A COURT'S
AUTOMATIC TEMPORARY ORDER

= CASES MARKED WITH *** RECEIVE A CASE ASSIGNMENT NOTICE WITH A JUOGE ONLY
TIMOTHY W. FITZGERALD, SPOKANE COUNTY CLERK | 1116 W BROADWAY AVE ROOM 300 | SPOKANE WA 99260 | 509.477.2211

Revised 7/2023

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EXHIBIT B
Case 2:23-ev-00277-TOR-~ ECF No. 2. filed 09/25/23 PagelD.15 Page 7 of 19

CN: 2320385832 FILED
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PC: 3 Timothy W. Fitzgerald

ee SPOKANE COUNTY CLERK

Superior Court of Washington

For Spokane, County 24 2. 03 85 8 - 32

Frerichs, Jared A. September 8, 1982 _|No. To B e€ Assig ne d

Petitioner
VS. Summons 20-Days
City of Spokane, Police Department 1881
Defendant
SUMMONS

The People of the State of Washington to the Defendant, the Spokane City Police
Department:

You are hereby summoned and required to serve upon Plaintiff, an answer to the
complaint which is herewith served upon you, within 20 days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.

Dated this 15th day of September, 2023

/s/ Clerk of the Court

| certify under penalty of perjury under the laws of the state of Washington that the foregoing is
true and correct.

at RuwuvGs , 477

DJaess A. fwentt As
Printed name of Plaintiff

Case 2:23-cv-00277-TOR ECFNo. 2 filed 09/25/23. PagelD.16 Page 8 of 19

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SEP 18 2023

Timothy W. Fitzgerald
SPOKANE COUNTY CLERK

Superior Court of Washington

For Spokane, County 23 2 0 3 85 8 = 32

Frerichs, Jared A. September 8, 1982 _|No. To Be Assigned

Petitioner
vs. Complaint
City of Spokane, Police Department 1881
Defendant
COMPLAINT

The Plaintiff, Jared A. Frerichs, alleges as follows against the Defendant, the
Spokane City Police Department:

1. The Plaintiff was a citizen of the State of Washington.
a. Address: 2924 E. Baldwin Ave, Spokane WA 99207
b. Phone: 406-909-0914
c. Email: jaredfrerichs@gmail.com
2. The Defendant is a municipal corporation located in the State of Washington.
a. Address: 1100 W. Mallon Ave, Spokane, WA 99260
b. Phone: 509-456-2233
c. Email: spodwebmail@spokanepolice.org
3. Onor about December 19, 2018, the Defendant's officers entered the
Plaintiffs home without a warrant or probable cause and confiscated the
Plaintiff's firearms.
4. The Defendant's actions violated the Plaintiffs Fourth Amendment right to be
free from unreasonable searches and seizures.
5. As aresult of the Defendant's actions, the Plaintiff has suffered damages,
including but not limited to the loss of his firearms, the cost of replacing his
firearms, loss of status and emotional distress.

WHEREFORE, the Plaintiff prays for judgment against the Defendant for the
following relief:

a. A declaration that the Defendant's actions violated the Plaintiffs Fourth
Amendment rights; b. An order requiring the Defendant to return the Plaintiff's
firearms; c. An award of damages, including but not limited to the cost of replacing
the Plaintiff's firearms and emotional distress; and d. Such other and further relief as
the Court may deem just and equitable.

DATED this 15th day of September, 2023.

Case 2:23-cv-00277-TOR ECFNo. 2 _ filed 09/25/23 PagelD.18 Page 10 of 19

EXHIBIT C
Case 2:23-cv-00277-TOR ECFNo. 2 _ filed 09/25/23 PagelD.19 Page 11 of 19

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PC: 3 SPOKANE COUNTY CLERK

For Sean Cony 232 03858-32

No. To Be Assigned

Frerichs, Jared A. September 8, 1982

Petitioner Memorandum of Authorities for the
val . Fourth Amendment

City of Spokane, Police Department 1881

Defendant

Fourth Amendment Authorities

I. Introduction

The Fourth Amendment to the United States Constitution protects individuals from unreasonable
searches and seizures by the government. This memorandum summarizes key Supreme Court
cases that have interpreted and applied the Fourth Amendment. Specifically, it will provide an
overview of authorities regarding (1) reasonable searches, (2) warrant requirements, and (3)
exceptions to the warrant requirement.

II. Reasonable Searches

The touchstone of Fourth Amendment analysis is whether a search is reasonable. See Brigham
City v. Stuart, 547 U.S. 398, 403 (2006). Reasonableness is determined by examining the totality
of the circumstances and balancing the promotion of legitimate governmental interests against
the degree to which the search intrudes on an individual's privacy. See Samson v. California, 547
USS. 843, 848 (2006).

Several principles guide the reasonableness inquiry:

- A search must be justified at its inception and reasonably related in scope to the circumstances
that justified the interference in the first place. Terry v. Ohio, 392 U.S. 1, 19-20 (1968).

- Searches generally require individualized suspicion of wrongdoing. Chandler v. Miller, 520
U.S. 305, 308 (1997). But the Fourth Amendment imposes no irreducible requirement of
suspicion. United States v. Martinez-Fuerte, 428 U.S. 543, 560-61 (1976).
- Warrantless searches are per se unreasonable subject only to a few specifically established and
well-delineated exceptions, Katz v. United States, 389 U.S. 347, 357 (1967).

III. Warrant Requirements

The Fourth Amendment establishes a strong preference for searches conducted pursuant to a
warrant. See Illinois v. Gates, 462 U.S. 213, 236 (1983). To be valid, a warrant must be based on
probable cause and be supported by oath or affirmation. U.S. Const. amend. IV.

- Probable cause means a fair probability that contraband or evidence of a crime will be found in
a particular place. Gates, 462 U.S. at 238.

- Warrants must describe with particularity the place to be searched and things to be seized. The
description must be specific enough to enable the searcher to reasonably ascertain and identify
the things authorized to be seized. United States v. Leon, 468 U.S. 897, 923 (1984).

IV. Exceptions to the Warrant Requirement

There are several exceptions to the Fourth Amendment's warrant requirement that have been
recognized by the Supreme Court:

- Exigent circumstances - A warrantless search is allowed when there is a compelling need for
official action but no time to secure a warrant. Michigan v. Tyler, 436 U.S. 499, 509 (1978).

- Search incident to lawful arrest - Police can conduct a warrantless search of an arrestee's person
and the area within his immediate control. United States v. Robinson, 414 U.S. 218, 235 (1973).

- Automobile exception - Police may conduct a warrantless search of a vehicle if there is
probable cause to believe it contains contraband or evidence of criminal activity. California v.
Acevedo, 500 U.S. 565, 579 (1991).

- Plain view doctrine - No warrant is required to seize evidence in plain view if police are
lawfully in the position from which the evidence is plainly seen. Horton v. California, 496 U.S.
128, 136-37 (1990).

V. Conclusion

In sum, the Fourth Amendment requires searches to be reasonable, with warrants preferred and
exceptions allowed only in limited circumstances. This memorandum provides an overview of

Case 2°23-CV-00277-TOR ECF NO. 2_ fied 09/25/23 PagelD.z1 Page Is orig

key Supreme Court rulings interpreting the reasonableness, warrant, and exception requirements.
Please let me know if you need any clarification or additional Fourth Amendment authorities.

I certify under penalty of perjury under the laws of the state of Washington that the foregoing is
true and correct.

sawed A. FreeticthlS
Printed name of Plaintiff

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EXHIBIT D
Case 2:23-cv-00277-TOR ECFNo. 2 _ filed 09/25/23 PagelD.23 Page 15 of 19

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SPOKANE COUNTY CLERK
Superior Court of Washington 232 03 85 8 = 32
For Spokane, County
No. To Be Assigned
Frerichs, Jared A. September 8, 1982
a are —— Memorandum of Authorities for the
val Second Amendment

City of Spokane, Police Department 1881

Defendant

Second Amendment Authorities

I. Introduction

The Second Amendment provides: "A well regulated Militia, being necessary to the security of a
free State, the right of the people to keep and bear Arms, shall not be infringed." U.S. Const.
amend, II. This memorandum summarizes key Supreme Court decisions interpreting and
applying the Second Amendment. Specifically, it will provide an overview of authorities
regarding (1) the right to keep and bear arms, and (2) permissible restrictions.

II. The Individual Right to Keep and Bear Arms

In District of Columbia v. Heller, 554 U.S. 570 (2008), the Supreme Court held that the Second
Amendment protects an individual right to possess firearms unconnected with service in a
militia. The Court stated the core right protected is "the right of law-abiding, responsible citizens
to use arms in defense of hearth and home." Id. at 635. In McDonald v. City of Chicago, 561
U.S. 742 (2010), the Court held that the Second Amendment right is fully applicable to the states
through the Fourteenth Amendment.

Key principles from Heller and McDonald:

- The Second Amendment codifies a pre-existing individual right, not a right dependent on
service in a militia, Heller at 592.

- The right is not unlimited. It is not a right to keep and carry any weapon for any purpose. Heller
at 626.

- Bans on handgun possession in the home violate the Second Amendment. Heller at 628-29.
tase 2723-tv-00277-TOR ECF No. 2 filed 09/25/23 PagelD.24 Page 16 of 19

III. Permissible Restrictions on the Right

The Court in Heller stated that Second Amendment rights are not unlimited and recognized
several presumptively lawful regulatory measures:

- Prohibitions on possession by felons and the mentally ill. Heller at 626-27.

- Laws forbidding firearm possession in sensitive places like schools and government buildings.
Id.

- Laws imposing conditions on commercial sales of arms. Id. at 627.

The Court also endorsed an “historical tradition" test, suggesting regulations are permissible if
they fall within the historical tradition of prohibiting dangerous or unusual weapons. Id. at
627-28.

Restrictions that do not severely burden the core right of armed defense in the home must
generally satisfy intermediate scrutiny—a means-ends fit that is reasonable but not necessarily
perfect. See Ezell v. City of Chicago, 651 F.3d 684, 708 (7th Cir. 2011). Outright bans must
satisfy strict scrutiny. Id.

IV. Conclusion

The Second Amendment protects an individual right to keep and bear arms unconnected with
militia service. The right is subject to certain presumptively lawful restrictions and regulations
that fall within historical tradition or satisfy intermediate scrutiny under a means-end tailoring
analysis. Please let me know if you need any clarification or additional Second Amendment
authorities.

V. RCW 7.105.460 Enforcement and penalties—Extreme risk protection orders—False petitions.

(1) Any person who files a petition for an extreme risk protection order knowing the
information in such petition to be materially false, or with the intent to harass the
respondent, is guilty of a gross misdemeanor.

(2)(a) Except as provided in (b) of this subsection, any person who has in his or her
custody or control, accesses, purchases, possesses, or receives, or attempts to purchase or
receive, a firearm with knowledge that he or she is prohibited from doing so by an
extreme risk protection order is guilty of a gross misdemeanor, and further is prohibited
from having in his or her custody or control, accessing, purchasing, possessing, or

receiving, or attempting to purchase or receive, a firearm for a period of five years from
the date the existing order expires.

(b) A person is guilty of a class C felony for a violation under (a) of this subsection if the
person has two or more previous convictions for violating an order issued under this
chapter.

I certify under penalty of perjury under the laws of the state of Washington that the foregoing is

true and correct.
Lo JTaveem L\. Feencenl

Printed name of Plaintiff

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EXHIBIT E
~Case 2:23-cv-00277-TOR ECFNo.2_ filed 09/25/23 PagelD.27 Page 19 of 19

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x, SUPERIOR COURT OF
WASHINGTONCOUNTY OF SPOKANE 3
2 03858-30
Plaintiff/Petitioner: Frerichs, Jared A. CASE NO.
vs. NOTE FOR HEARING
ISSUE OF LAW
Defendant/Respondent: Spokane City Police Department
(NTMTDK)

TO THE CLERK AND TO:

The undersigned has scheduled a motion for complaint, a copy of which is attached. The hearing
is scheduled for 13 of October, 2023 at a time to be determined before the assigned judge at,
Spokane County Superior Court, 1116 W. Broadway Avenue, Spokane, WA 99260-0350.

Motions must be confirmed NO LATER THAN 12:00 NOON, 3 DAYS BEFORE THE
HEARING by contacting the judicial assistant for the assigned judge, or the presiding judge
for cases that are not assigned.

Name: Jared A. Frerichs

Address: 2924 E. Baldwin Ave, Spokane Washington 99207

Phone: 406-909-0914

Email: jaredfrerichs@gmail.com

Signed:

AUTHORITIES
Cite those authorities which form primary basis for your legal position. Where case authority is
cited, provide reference to specific page of opinion, which is controlling. Likewise reference
applicable sections or subsection of statutes or court rules. This does not substitute for required
Memorandum of Authorities

Applicable Statute: The Fourth Amendment of the United States Constitution; Section 7 of the
Washington State Constitution.

Applicable Case Law: Brigham City v. Stuart, 547 US 398, 403 (2006); Samson v. California, 547
US 843, 848 (2006); see Memorandum of Authorities for entire list

NOTE FOR HEARING-ISSUE OF LAW CR40(a)(2): RCW 4.44.020 Rev: 07/2019

